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 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                       OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
13                Plaintiffs,                     GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
14                                                LIMITED IN RESPONSE TO
           v.
                                                  PLAINTIFFS’ ADMINISTRATIVE
15                                                MOTION TO CONSIDER WHETHER
     NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
16                                                SHOULD BE FILED UNDER SEAL [RE
                  Defendants.                     DOCKET NO. 426]
17
                                                  Judge: Hon. Phyllis J. Hamilton
18
                                                  Action Filed: 10/29/2019
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       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                               Case No. 4:19-cv-07123-PJH
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 1            Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and
 2   Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response
 3   to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be
 4   Filed Under Seal (“Administrative Motion”) (Dkt. 426). Plaintiffs identify portions of their
 5   Opposition to the Motion of Third Parties Westbridge Technologies, Josh Shaner, and Terrance
 6   DiVittorio for Clarification (“Plaintiffs’ Opposition”), certain portions of the Declaration of Micah
 7   G. Block in Support of Plaintiffs’ Opposition (the “Block Declaration”), and the exhibits to the
 8   Block Declaration (together, the “Materials”) as containing, referring to, or deriving from,
 9   documents that Defendants and/or nonparty Joshua Shaner have designated as Confidential or
10   Highly Confidential-Attorneys’ Eyes Only pursuant to the Stipulated Protective Order (Dkt. No.
11   132).
12      I.       SUMMARY OF DEFENDANTS’ POSITIONS
13            As an initial matter, Defendants do not contend that the following information is required
14 to be treated as “Confidential,” “Highly Confidential-Attorney’s Eyes Only,” or sealed: Plaintiffs’

15   Opposition (Dkt. 426-3): pages/lines: 1:9-11, 3:7, 3:16-20, and 4:18-19; Block Declaration
16   (Dkt. 426-4): page/lines: 1:9-11, 1:19-23, 1:25-2:2; Exhibit B to Block Declaration (Dkt. 426-
17   5): pages 1, 6-9, 332:8-333:6, 333:13-337:25; Exhibit C to Block Declaration (Dkt. 426-5):
18 pages 1, 10:1-7, 10:14-13:22, pages 18-21, and pages 342-345.

19            For reasons shown below, however, the remaining portions of the Materials should be
20 sealed—specifically pages/lines 3:21-22, and 4:20-21 of Plaintiffs’ Opposition (Dkt. 426-3);

21 pages/lines 1:12-13 and 2:3-7 of the Block Declaration (Dkt. 426-4); the entirety of Exhibit A to

22 the Block Declaration (Dkt. 426-5); pages/lines 330:1-332:7 and 333:7-12 of Exhibit B to Block

23 Declaration (Dkt. 426-5); and page/lines: 10:8-13 of Exhibit C to Block Declaration (Dkt. 426-5).

24      II.      ARGUMENT
25            A. Legal Standard
26            Although courts recognize a general right to inspect and copy public records, “access to
27 judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

28 (9th Cir. 2006). The appropriate standard for sealing here is “good cause.” Plaintiffs submitted
       DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                        Case No. 4:19-cv-07123-PJH
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 1   the Materials as support for their opposition to a motion concerning a discovery dispute—a non-
 2 dispositive motion that only tangentially relates to the case—so Defendants need only show “good

 3 cause” as to why the Materials should remain under seal. Wells Fargo & Co. v. ABD Ins. & Fin.

 4 Servs., 2013 WL 897914, at *1 (N.D. Cal. Mar. 8, 2013) (Hamilton, J.). “Good cause” requires

 5 only “a particularized showing” that sealing is appropriate, which “will suffice to seal documents

 6 produced in discovery.” Kamakana, 447 F.3d at 1180; see also Ctr. for Auto Safety v. Chrysler

 7 Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (“Applying the good cause standard from Rule

 8 26(c) as an exception for discovery-related motions makes sense, as the private interests of litigants

 9 are ‘the only weights on the scale.’” (quoting Kamakana, 447 F.3d at 1180)).
10          Here, Defendants easily satisfy the applicable good-cause standard. Indeed, courts have
11 upheld the sealing of sensitive non-public information implicating confidentiality interests of

12 government bodies even under the “compelling reasons” sealing standard, which is far more

13 exacting than the good-cause standard that governs here. See Hyundai Motor Am., Inc. v. Midwest

14 Indus. Supply Co., 2019 WL 11638962, at *2 (D. Nev. June 20, 2019). For additional background,

15 argument, and authorities relevant to this topic, the Court is respectfully referred to ¶¶ 2, 4-12, &

16 13(a)-(e) of Dkt. 433-1. As specified below, the events, arguments, and authorities discussed

17 therein support sealing the Materials.

18          Courts likewise have found “[c]ompelling reasons”—again, far more than the “good cause”
19 required here—justifying sealing court records that contain “trade secrets [] or … business
20 information that might harm a litigant’s competitive standing.” Hyundai Motor, 2019 WL

21 11638962, at *1. This includes documents reflecting “proprietary information concerning [a

22 party’s] technology and internal business operations” and “descriptions of [a party’s] proprietary

23 technology.” Transperfect Global, Inc. v. MotionPoint Corp., 2013 WL 706975, at *1 (N.D. Cal.

24 Feb. 26, 2013); see also Finjan, Inc. v. Proofpoint, Inc., 2016 WL 7429304, at *2 (N.D. Cal. Feb.

25 9, 2016) (sealing “source code directories, information about the technical operation of the

26 products, . . . and excerpts from expert depositions [and] expert report[s]”); Icon-IP Pty Ltd. v.

27 Specialized Bicycle Components, Inc., 2015 WL 984121, at *2 (N.D. Cal. Mar. 4, 2015) (“pricing,

28 profit, and customer usage information, when kept confidential by a company, is appropriately
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 1   sealable . . . where that information could be used to the company’s competitive disadvantage”)..
 2   Courts have also sealed “customers’ personal information, which includes the customers’ . . .
 3   activities on certain platforms, in order to protect the customers’ privacy.” Activision Publ’g, Inc.
 4   v. Engine Owning UG, 2023 WL 2347134, at *1 (C.D. Cal. Feb. 27, 2023).
 5          B. Documents and Information Requiring Sealing
 6          As discussed below, the above-referenced considerations supply good case for and strongly
 7 support sealing of portions of the Materials identified below. Accordingly, the Court should grant

 8 Plaintiffs’ Administrative Motion and maintain those Materials under seal.

 9          The identified portions of Plaintiffs’ Opposition (Dkt. 426-3). The highlighted portions
10 pages/lines 3:21-22, and 4:20-21 of Plaintiffs’ Opposition refer to information that is subject to

11 legal restrictions and confidentiality obligations discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of

12 Dkt. No. 433-1 that supply good cause to seal those portions of Plaintiffs’ Opposition.

13 Accordingly, those portions of Plaintiffs’ Opposition should remain sealed.

14          The identified portions of the Block Declaration (Dkt. 426-4). The highlighted portions
15 of pages/lines 1:12-13, and 2:3-7 of the Block Reply Declaration refer to information that is subject

16 to legal restrictions and confidentiality obligations discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of

17 Dkt. No. 433-1 that supply good cause to seal those portions of Plaintiffs’ Opposition.

18 Accordingly, those portions of the Block Declaration should remain sealed.

19          Block Declaration Exhibit A (Dkt. 426-5). Exhibit A to the Block Declaration consists
20 entirely of information that is subject to legal restrictions and confidentiality obligations discussed

21 in detail at ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. No. 433-1 that, alone, supply good cause to seal this

22 Exhibit. The Exhibit also discusses highly confidential and competitively sensitive pricing

23 information for a specific customer, confidential information about the functioning of Defendants’

24 technologies, and confidential customer/business partner information, all of which warrants

25 sealing to prevent substantial harm to Defendants’ business and to Defendants’ government

26 customers and business partners. See, e.g., Finjan, 2016 WL 7429304, at *2; Transperfect, 2013

27 WL 706975, at *1; Activision, 2023 WL 2347134, at *1; Hyundai Motor, 2019 WL 11638962, at

28 *1; Icon-IP, 2015 WL 984121, at *2. Accordingly, Exhibit A to the Block Declaration should
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 1   remain sealed.
 2          Block Declaration Exhibit B (Dkt. 426-5). Pages/lines 330:1-332:7 and 333:7-12 of
 3   Exhibit B to the Block Declaration reference information that is subject to legal restrictions and
 4   confidentiality obligations discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. No. 433-1 that,
 5   alone, supply good cause to seal those portions of the Exhibit. Those portions of the Exhibit also
 6   reference confidential customer information, which further supports sealing to prevent substantial
 7 harm to Defendants’ government customers. See, e.g., Activision, 2023 WL 2347134, at *1; Icon-

 8 IP, 2015 WL 984121, at *2. Accordingly, pages/lines 330:1-332:7 and 333:7-12 Exhibit B to the

 9 Block Declaration should remain sealed.
10          Block Declaration Exhibit C (Dkt. 426-5). Pages/lines 10:8-13 refer to information that
11 is subject to legal restrictions and confidentiality obligations discussed in detail at ¶¶ 2, 4-12, &

12 13(a)-(e) of Dkt. No. 433-1 that supply good cause to seal those portions of Plaintiffs’ Opposition.

13 Accordingly, those portions of Block Declaration Exhibit C should remain sealed.

14                                                ******
15          As shown above and in Dkt. 433-1, ¶¶ 2, 4-12, & 13(a)-(e), good cause exists to seal the
16 Materials identified above. Defendants have analyzed each of the documents being filed, and for

17 each, Defendants are asking the Court to file under seal only the minimum necessary to meet their

18 legal obligations and to preserve their confidential information. Accordingly, Defendants ask that

19 the Court grant Dkt. 426 and enter the [Proposed] Order filed herewith.
20

21   DATED: October 23, 2024                          KING & SPALDING LLP
22                                                    By: /s/Aaron S. Craig
23                                                        JOSEPH N. AKROTIRIANAKIS
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25                                                        CYBER TECHNOLOGIES LIMITED
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